                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.327 Page 1 of 19




                                             UNITED STATES DISTRICT COURT
                                         FOR THE WESTERN DISTRICT OF MICHIGAN

                            KOLU STEVENS;
                            PATRICK GREENHOE; and                             Case No.: 18-cv-757
                            CLAUDETTE GREENHOE;                             Honorable Paul L. Maloney
                                Plaintiffs,
                                                                                   RESPONSE
                                 v.
                                                                                     ***
                            MILTON L. MACK, JR., in his official               ORAL ARGUMENT
                            capacity as the Administrator of the                 REQUESTED
                            Michigan State Court Administrative                      ***
                            Office; KIM B. MEAD, in his official
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                            capacity as Bay County Probate Court
                            Administrator; WILLIAM M.
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                            HEFFERAN, in his official capacity as
                            Antrim County Circuit Court – Family
                            Division Administrator,
                                  Defendants
                                                                     /

                            OUTSIDE LEGAL COUNSEL PLC                    JOSEPH Y. HO (P77390)
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                                                                 1
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.328 Page 2 of 19




                                      PLAINTIFFS’ OPPOSITION TO DEFENDANT MEAD’S
                                      MOTION TO DISMISS PURSUANT TO RULE 12(b)(6)

                                  NOW COMES Plaintiffs KOLU STEVENS, PATRICK GREENHOE,

                            and CLAUDETTE GREENHOE, by counsel, and opposes Defendant KIM B.

                            MEAD’s motion to dismiss pursuant to Fed.R.Civ.P. 12(b)(6). Except for

                            attaching additional exhibits to the motion, the actual arguments of

                            Defendant Mead are identical (and equally erroneous) to those asserted by

                            Defendant WILLIAM M. HEFFERAN in ECF No. 16. Plaintiffs do not wish to
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                            overload the court record with the same responses to the exact same
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                            arguments. To respond to Defendant Mead’s arguments in ECF No. 14,

                            Plaintiffs incorporate by reference their response to Defendant Hefferan’s

                            motion to dismiss filed on the docket as ECF No. 23. There is no sense in

                            reinventing the wheel when it was already invented.

                                  That being said, Plaintiffs do wish to raise an important additional

                            challenge to the facts section within Defendant Mead’s brief because he has

                            opted to utilize a disturbing litigation trend of defense attorneys to improperly

                            ‘jam the record’ with and then reference documents/evidence not allowed to

                            be considered by the procedural rules with the hopes the Court (and their

                            brother/sister counsel) will not notice the impropriety.

                                  For the reasons and analysis outlined in ECF No. 23 and the argument

                            herein, the Court is requested to preclude any use of or reference to the

                                                                   2
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.329 Page 3 of 19




                            attached Exhibits A through F proffered by Defendant KIM B. MEAD and

                            deny the motion to dismiss pursuant to Fed.R.Civ.P. 12(b)(6).

                                                      STUFFING THE RECORD

                                  Defendant Mead filed a motion to dismiss under Rule 12(b)(6), not a

                            motion for summary judgment under Rule 56. The response required of

                            Plaintiffs as to the respective motions is vastly different.

                                  Summary judgment is proper when “there is no genuine dispute as to
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                            any material fact and the movant is entitled to judgment as a matter of law.”
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                            Fed.R.Civ.P. 56(a). No genuine dispute of material fact exists when the

                            court, looking at the record “as a whole,” cannot conclude that a rational trier

                            of fact could find for the non-moving party. Matsushita Elec. Indus. Co. v.

                            Zenith Radio Corp., 475 U.S. 574, 587 (1986). Under a Rule 56 motion, the

                            Court answers a completely different question than presented under Rule

                            12(b)(6); the court evaluates “whether the evidence presents a sufficient

                            disagreement to require submission to a jury or whether it is so one-sided

                            that one party must prevail as a matter of law.” Anderson v. Liberty Lobby,

                            Inc., 477 U.S. 242, 251-252 (1986). We must draw all reasonable inferences

                            in favor of the nonmoving party in conducting the motion’s review. Burgess

                            v. Fischer, 735 F.3d 462, 471 (6th Cir. 2013). In this case, discovery has not

                            even started and “summary judgment is ordinarily inappropriate before


                                                                    3
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.330 Page 4 of 19




                            discovery is complete.” McWay v. LaHood, 269 F.R.D. 35, 36 (D.D.C. 2010).

                            While Rule 56 allows a party to move for summary judgment before

                            discovery is complete, such a motion is successful “only in the rarest of

                            cases” because “the nonmoving party must have had the opportunity to

                            discover information that is essential to its opposition to the motion for

                            summary judgment.” Great Wall De Venezuela C.A. v. Interaudi Bank, 117

                            F.Supp.3d 474, 492-493 (S.D.N.Y. 2015).
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                                  Under a Rule 12(b)(6) motion, however, the Court must deem all the
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                            allegations in the complaint as true and view the facts in the light most

                            favorable to plaintiff. DirecTV, Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir.

                            2007). The judge must treat the allegations as true even if “doubtful in fact.”

                            Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). This type of motion

                            does not allow for a challenge to deemed-true facts, but rather challenges

                            whether relief sought is ‘plausible’ under allegations pled by the plaintiff. The

                            complaint must state a claim that is merely plausible on its face, i.e., the court

                            must be able to draw a “reasonable inference that the defendant is liable for

                            the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The

                            issue in reviewing the sufficiency of the complaint is not whether the

                            plaintiff[s] will prevail, but whether the plaintiff is entitled to offer evidence to

                            support his claims.” Ruiz v. McDonnell, 299 F.3d 1173, 1182 (10th Cir. 2002).


                                                                     4
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.331 Page 5 of 19




                            The Court then answers that “[i]f everything the plaintiffs allege is true, do

                            those allegations establish an injury that the law redresses? If the answer is

                            yes, the case continues, allowing the plaintiffs to gather evidence that proves

                            to [the factfinder], beyond a preponderance of the evidence, that the

                            allegations in their complaint are true.” P.J. v. Utah, 2006 U.S. Dist. LEXIS

                            40393; 2006 WL 1702585 (Utah 2006)(emphasis in original); see also

                            Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511 (2002).
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                                  When reviewing a Rule 12(b)(6), a court may only consider “matters of
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                            public record, orders, items appearing in the record of the case, and exhibits

                            attached to the complaint,” as well as “documents that a defendant attaches

                            to a motion to dismiss ... if they are [1.] referred to in the plaintiff’s complaint

                            and [2.] are central to her claim.” Amini v. Oberlin Coll., 259 F.3d 493, 502

                            (6th Cir. 2001). Obviously, affidavits do not meet the Amini standard and are

                            prohibited in a Rule 12(b)(6) challenge. See Fredrick v. Simmons Airlines,

                            Inc., 144 F.3d 500, 504 (7th Cir. 1998) (“Affidavits are not properly

                            considered in deciding upon a motion under Rule 12(b)(6).”).

                                  In recent years, the undersigned has noticed a trend with defense

                            attorneys who decide to file a Rule 12(b)(6) motion in lieu of answer (and by

                            extension, before discovery has even been started). They attach a bunch of

                            documents, evidence, or website printouts as exhibits which were not


                                                                     5
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.332 Page 6 of 19




                            attached to or referred to in the complaint. The problem, due to the presence

                            of exhibits attached to Defendant Mead’s briefing, is whether this Court can

                            even look to them. And beyond looking, can it even consider them? The

                            answer is almost always no, but defense attorneys do it anyways. This is

                            wrong, unfair, and violates the Rule 12(b)(6) standards. It is pure litigation

                            gamesmanship to taint the Court’s understanding of a plaintiff’s pled case

                            but unanswered case.
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                                  An excellent discussion of the problem was discussed by Judge
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                            Guilford from the Federal District Court in the Central District of California via

                            his opinion in Hsu v. Puma Biotechnology, Inc., 213 F.Supp.3d 1275 (C.D.

                            Cal. 2016). Hsu was a securities fraud case where investors alleged a

                            pharma-company and its executives (the “Company”) were alleged to have

                            made false or misleading statements. The Company filed a motion to dismiss

                            pursuant to Rule 12(b)(6) in lieu of answer, just as was done in our case.

                            After reciting the same standards outlined above, Judge Guilford asked a

                            great question: beyond the allegations in the complaint, “what else the Court

                            can consider in its analysis of the Motion to Dismiss” vis-à-vis Rule 12(b)(6)?

                            Naturally, the Company attached more than a dozen exhibits not attached or

                            directly referenced in the Hsu complaint. Judge Guilford’s well-reasoned

                            thoughts are as follows (with some highlighting by the undersigned):


                                                                    6
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.333 Page 7 of 19




                                 The Court has accordingly accepted all the facts alleged in the
                                 complaint as true. But there are remaining questions about what else
                                 the Court can consider in its analysis of the Motion to Dismiss.

                                 Typically, a court can only consider what’s in the complaint when it is
                                 deciding a Rule 12(b)(6) motion to dismiss a complaint. See Lee v. City
                                 of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001). And typically, if a
                                 court considers more than what’s in the complaint, the motion gets
                                 converted into a Federal Rule of Civil Procedure 56 (“Rule 56”) motion
                                 for summary judgment. See Fed. R. Civ. P. 12(d). This conversion
                                 can muddy the analysis for clients, counsel, and courts alike, by
                                 implicating rules and requirements that don’t otherwise apply to
                                 motions to dismiss. See, e.g., L.R. 56-1 (requiring that a party
                                 moving for summary judgment file a separate “Statement of
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                                 Uncontroverted Facts and Conclusions of Law”); see also Kramer v.
                                 Time Warner Inc., 937 F.2d 767, 773 (2d Cir. 1991) (“If a district court
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                                 wishes to consider additional material, Rule 12(b) requires it to treat
                                 the motion as one for summary judgment under Rule 56, giving the
                                 party opposing the motion notice and an opportunity to conduct
                                 necessary discovery and to submit pertinent material.”).

                                 But there are a couple of doctrines that allow a court to consider
                                 material outside of the complaint without turning a Rule 12(b)(6) motion
                                 to dismiss into a Rule 56 motion for summary judgment: judicial notice
                                 and incorporation by reference. United States v. Ritchie, 342 F.3d 903,
                                 908 (9th Cir. 2003); see also In re Rigel Pham., Inc. Sec. Litig., 697
                                 F.3d at 876 (holding that a court deciding a motion to dismiss for failure
                                 to state a claim is “generally limited to the face of the complaint,
                                 materials incorporated into the complaint by reference, and matters of
                                 which [the court] may take judicial notice”).

                                 3.1 Judicial Notice
                                 First, judicial notice. Judicial notice is an explicitly limited doctrine that’s
                                 supposed to be used to allow a court to consider “a fact that is not
                                 subject to reasonable dispute because it: (1) is generally known within
                                 the trial court’s territorial jurisdiction; or (2) can be accurately and
                                 readily determined from sources whose accuracy cannot reasonably
                                 be questioned.” Fed. R. Evid. 201. For example, a court might take
                                 judicial notice that January 4, 1986, was a Saturday, or that a party
                                 filed a brief opposing a motion in a state court case, or that a particular

                                                                    7
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.334 Page 8 of 19




                                 document was recorded with the county recorder’s office. See Lee, 250
                                 F.3d at 690 (discussing judicial notice of undisputed matters of public
                                 record); see also Daubert v. Merrell Dow Pham., Inc., 509 U.S. 579,
                                 592 n.11, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993) (discussing judicial
                                 notice of “firmly established” scientific laws); Barnes v. Indep. Auto.
                                 Dealers Ass’n of Cal. Health & Welfare Benefit Plan, 64 F.3d 1389,
                                 1395 (9th Cir. 1995) (discussing judicial notice of “[w]ell-known medical
                                 facts”).

                                 Judicial notice functions like an evidentiary exception in two different
                                 ways. First, judicial notice can be a substitute for the presentation of
                                 evidence. As a general rule, a party asserting a fact bears the burden
                                 of proving that fact with evidence. But judicial notice lets a party skip
                                 this production (and the accompanying authentication) for certain facts.
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                                 See Castillo-Villagra v. INS, 972 F.2d 1017, 1026 (9th Cir. 1992)
                                 (“Notice is a way to establish the existence of facts without evidence.”).
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                                 Second, as noted, judicial notice can be a workaround for the exclusion
                                 of evidence. As a general rule, parties can’t present (and courts can’t
                                 consider) evidence outside of the complaint when deciding a Rule
                                 12(b)(6) motion to dismiss. See Hal Roach Studios, Inc. v. Richard
                                 Feiner & Co., 896 F.2d 1542, 1555 n.19 (9th Cir. 1989). But “[f]acts
                                 subject to judicial notice may be considered on a motion to dismiss.”
                                 Maiman v. Talbott, No. SACV 09-0012 AG (ANx), 2011 WL 13065750,
                                 at *2 (C.D. Cal. Aug. 29, 2011) (citing Mullis v. U.S. Bankr. Ct., 828
                                 F.2d 1385 (9th Cir. 1987)).

                                 Unfortunately, too many attorneys don’t understand judicial
                                 notice. Some take judicial notice literally, as a command. “Hey! Judge!
                                 Look!” They use judicial notice to get a court’s attention like a
                                 businessman who’s running late and trying to whistle down a taxi on a
                                 crowded downtown street. But courts aren’t cabbies, and judicial notice
                                 isn’t appropriately used this way. Other attorneys ask courts to
                                 judicially notice things that don’t need to be judicially noticed, like a
                                 controlling piece of law. Or attorneys ask courts to judicially notice
                                 things that aren’t appropriate for judicial notice, like emails between the
                                 parties’ counsel. All of these misuses misconstrue the narrow doctrine.

                                 3.2 Incorporation by Reference
                                 There’s also the doctrine of incorporation by reference. As this Court
                                 has previously noted, “[a]lthough often conflated, the doctrine of

                                                                  8
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.335 Page 9 of 19




                                 incorporation by reference is distinct from judicial notice.” Gammel v.
                                 Hewlett-Packard Co., 905 F.Supp.2d 1052, 1061 (C.D. Cal. 2012).
                                 Further confusing things, different courts and counsel use
                                 “incorporation by reference” to encompass at least three different
                                 approaches to extrinsic evidence.

                                 In its most limited and literal form, incorporation by reference allows a
                                 court deciding a Rule 12(b)(6) motion to dismiss to consider materials
                                 attached to the complaint that are referenced in the complaint. Hal
                                 Roach Studios, 896 F.2d at 1555 n.19. This application of the doctrine
                                 echoes Federal Rule of Civil Procedure 10, which states in relevant
                                 part that “[a] copy of a written instrument that is an exhibit to a pleading
                                 is a part of the pleading for all purposes.” Fed. R. Civ. P. 10(c).
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                                 Incorporation by reference has also been used to allow a court
                                 deciding a Rule 12(b)(6) motion to dismiss to consider a document that
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                                 isn’t attached to the complaint if the complaint “necessarily relies” on it
                                 and “(1) the complaint refers to the document; (2) the document is
                                 central to the plaintiff’s claim; and (3) no party questions the
                                 authenticity of the copy attached to the 12(b)(6) motion.” Marder v.
                                 Lopez, 450 F.3d 445, 448 (9th Cir. 2006). The Ninth Circuit has
                                 suggested the complaint must refer to the document “extensively.”
                                 Ritchie, 342 F.3d at 908.

                                 In its most expansive form, incorporation by reference has been used
                                 to get a court considering a Rule 12(b)(6) motion to dismiss to consider
                                 materials that are neither attached to nor mentioned in the complaint.
                                 Specifically, the Ninth Circuit has extended the “incorporation by
                                 reference” doctrine to situations in which the plaintiff’s claim depends
                                 on the contents of a document, the defendant attaches the document
                                 to its motion to dismiss, and the parties do not dispute the authenticity
                                 of the document, even though the plaintiff does not explicitly allege the
                                 contents of that document in the complaint. Knievel v. ESPN, 393 F.3d
                                 1068, 1076 (9th Cir. 2005). In this way, the incorporation by reference
                                 doctrine has become the incorporation without reference doctrine.

                                 3.3 The Impact on Access to Justice
                                 This last interpretation of the incorporation by reference doctrine and
                                 the incorrect use of judicial notice merit more discussion. Although
                                 these are two distinct doctrines with different legal requirements, they

                                                                   9
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.336 Page 10 of 19




                                  both can be used to get a court to consider extrinsic evidence on a
                                  Rule 12(b)(6) motion to dismiss. For a plaintiff, this consideration can
                                  mean having the courthouse doors slammed shut, such that there’s no
                                  discovery, no further motion practice, no cross-examination, and no
                                  jury trial. For a defendant, this consideration can mean avoiding
                                  lengthy litigation, arduous motion practice, and expensive, expansive
                                  discovery battles.

                                  This practical reality has led to inappropriate efforts by
                                  defendants to expand the two doctrines. These efforts are distinct
                                  from the other inappropriate misuses of the doctrines already
                                  identified. Nowadays, it seems more and more common to come
                                  across Rule 12(b)(6) motions to dismiss filed with hundreds of
                                  pages of attachments, authenticated through attorney
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                                  declarations. These declarations will be coupled with a request for
                                  judicial notice. That judicial notice will often conflate judicial notice and
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                                  incorporation by reference. Too often, these mountainous motions
                                  make arguments more appropriate for a motion for summary judgment
                                  or some other later stage of the case. Nonetheless, with little to lose,
                                  too many defense attorneys are tempted by the puncher’s chance
                                  offered by such a motion. At worst, they lose a generally inexpensive
                                  motion. But at best, they can knock their opponent out cold, right at the
                                  beginning of round one. In this way, efforts to expand courts’
                                  consideration of extrinsic evidence at the motion to dismiss stage are
                                  consistent with other developments in the law that diminish the ability
                                  of wronged plaintiffs to get their constitutionally-protected day in court.
                                  See Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 173 L.Ed.2d 868; Twombly,
                                  550 U.S. 544, 127 S.Ct. 1955. Such trends are particularly troubling
                                  in the common situation of asymmetry, where a defendant starts
                                  off with sole possession of the information about the alleged
                                  wrongdoing.

                            Hu, supra, at 1279-1282. This troubling trend is made even worse when

                            many times federal courts do not regularly or normally hold any oral

                            argument on the motion to dismiss.




                                                                   10
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.337 Page 11 of 19




                                                              The Current Motion

                                  Defendant Mead has filed a motion to dismiss under Rule 12(b)(6), not

                            for summary judgment under Rule 56. ECF No. 14, PageID# 167, 176. He

                            attached—

                                        • Exhibit A, an affidavit from Defendant Mead himself;

                                        • Exhibit B, a 2016 letter complaint from now-Plaintiff Patrick
                                          Greenhoe with no direction on who it is addressed to;

                                        • Exhibit C, a December 13, 2016 letter from Stacy Westra of the
                                          Michigan Court Reporting and Recording Board of Review to
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                                          now-Plaintiff Patrick Greenhoe;
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                                        • Exhibit D, a March 21, 2017 letter from Court Reporter Joan C.
                                          Van Wormer to the Michigan Court Reporting and Recording
                                          Board of Review;

                                        • Exhibit E, a June 22, 2017 letter from Chairman and Judge
                                          Michael Talbot to now-Plaintiff Patrick Greenhoe;

                                        • Exhibit F, the Summons and Complaint from the prior state court
                                          litigation in the Bay County Circuit Court; and

                                        • Exhibit G, a Final Order (labelled as "Order Amending Prior
                                          Opinion and Order) dismissing the prior state court litigation in
                                          the Bay County Circuit Court for lack of subject matter
                                          jurisdiction.1

                            Affidavits are expressly prohibited from consideration. Fredrick v. Simmons

                            Airlines, Inc., 144 F.3d 500, 504 (7th Cir. 1998) (“Affidavits are not properly

                            considered in deciding upon a motion under Rule 12(b)(6).”). Defendant



                                  1    This Exhibit G was attached to the First Amended Complaint as Exhibit I. ECF
                            No. 2-9.

                                                                        11
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.338 Page 12 of 19




                            Mead did not ask this Court to take any judicial notice of any particular fact2

                            within any of these documents. And frankly, none of the documents have

                            anything directly to do with the denial of access to the ACRs premised on

                            First Amendment violations sans the prior litigation which resulted in

                            dismissal for lack of subject matter jurisdiction in the attempted but failed

                            state court challenge. Thusly, Exhibits A through F cannot be utilized under

                            Amini.
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                                   From the traditional rule of using only that which was pled in the
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                            complaint, circuit courts have been expanding—ever so slightly—the scope

                            of reviewability of other permissible documents without turning a Rule

                            12(b)(6) into a Rule 56. As such, the standard of this Circuit is now muddled

                            and unclear. For example, Amini allows for documents consisting of “matters

                            of public record.” What is considered matters of public record? Same thing

                            for orders; is it orders in the current case or are other cases’ orders proper?

                            Are unauthenticated state court orders subject to submission? How about

                            the courts of Europe, Asia, or the countries of the Western Hemisphere?

                            Many state court decisions are only done in transcript form; are transcripts

                            proper? Litigants and their counsel simply do not know.



                                  2 It is important to note that FRE 201 allows this Court to take judicial notice of “a
                            fact,” not a document, that is not subject to reasonable dispute. FRE 201(b)(1)-(2).

                                                                        12
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.339 Page 13 of 19




                                  In this instance, the most relevant provision under Amini for Defendant

                            Mead’s exhibits is the one allowing “documents that a defendant attaches to

                            a motion to dismiss ... if they are [1.] referred to in the plaintiff’s complaint

                            and [2.] are central to her claim.” Amini v. Oberlin Coll., 259 F.3d 493, 502

                            (6th Cir. 2001). Here, however, none of these documents, except Exhibit G,

                            are attached to or referred to in Plaintiffs’ First Amended Complaint.

                            Moreover, Plaintiffs’ position is that none are actually directly relevant to the
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                            actual First Amendment question presented in this case. Thusly, under
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                            Amini, Ho, and Fredrick, Exhibits A through F are not able to be considered

                            by the Court. They must be excluded from consideration. Fed.R.Civ.P. 12(d).

                                                   Conversion to Rule 56 Motion

                                  Notwithstanding all this discussion, the Court has the ability to convert

                            a Rule 12(b)(6) motion into a Rule 56 motion to keep the exhibits in play.

                            Fed.R.Civ.P. 12(d). However, this is unfair and improper at this stage of

                            litigation—i.e. the pre-answer and pre-discovery phase. This particular Rule

                            12(b)(6) motion has been filed before an answer has been filed and before

                            discovery was even started, let alone completed. Summary judgment should

                            not be granted before discovery is completed. Routman v. Automatic Data

                            Processing, Inc., 873 F.2d 970, 971 (6th Cir.1989); see also Tarleton v.

                            Meharry Medical College, 717 F.2d 1523, 1534-1535 (6th Cir. 1983) (district


                                                                   13
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.340 Page 14 of 19




                            court abused discretion by failing to address motion seeking additional

                            discovery time). As this case is postured, converting Defendant Mead’s filing

                            into a Rule 56 motion is futile because Plaintiffs are simply going to request

                            and require some form of reasonable discovery and depositions of the key

                            players in this case. Routman and fair play mandates the same. This is

                            especially true when a defendant has sole possession of documents or

                            information proving the alleged wrongdoing.
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                                                               FACTS
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                                  Given all these considerations outlined above, the Court should remain

                            true to the plain standards long governing Rule 12(b)(6) motions and stick to

                            just the facts provided by the allegations in the First Amended Complaint

                            (ECF No. 2) and not by Defendant Mead’s improper exhibits (ECF Nos.

                            14-1 – 14-6). Because this matter comes before this Court on a motion to

                            dismiss under Rule 12(b)(6), ECF No. 14, PageID# 167, 176, all the

                            allegations in the First Amended Complaint are deemed true and viewed in

                            the light most favorable to Plaintiffs. DirecTV, supra, at 476. To support this

                            matter and oppose Defendant Mead’s motion, Plaintiffs rely on, incorporate,

                            and limit themselves the detailed facts pled in their First Amended Complaint.

                            ECF No. 2. A concise summary is as follows as it relates to Defendant Mead.




                                                                  14
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.341 Page 15 of 19




                                  In Michigan, many of the state trial-level courts have opted to make

                            digital audio recordings of court proceedings held in their respective

                            courtrooms throughout Michigan. Under Michigan law, the audio “court

                            recordings… [hereinafter “ACRs”] and all other records such as tapes,

                            backup tapes, discs, and any other medium used or created in the making

                            of a record of proceedings and kept pursuant to MCR 8.108 are court

                            records.” Mich. Ct. R. 8.119(F); ECF No. 2, ¶54. Defendant Mack, in his
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                            official capacity, requires each court to enact a local administrative order
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                            controlling how generated and maintained ACRs may be accessed and

                            copied by the public. Id., ¶¶49-50. In this case, Antrim County Circuit Court

                            Administrative Order 2015-1 and Bay County Probate Court Administrative

                            Order 2014-01J are, in substantive part, identical and being challenged as

                            violating the First Amendment. Id., ¶¶53, 69. Both LAOs completely ban any

                            public access for inspection or copying of ACRs under any circumstances.

                            Id., ¶59. As discussed below, Defendants who relied or relies upon the

                            disputed LAOs, as based upon on Model LAO 8, renders their use by

                            Defendants as unlawful under the First Amendment. Id., ¶60. Neither Antrim

                            County Circuit Court Administrative Order 2015-1, Bay County Probate Court

                            Administrative Order 2014-01J, or Model LAO 8, require or have any specific

                            on-the-record findings demonstrating that closure of public access is


                                                                 15
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.342 Page 16 of 19




                            essential to preserve higher values and is narrowly tailored to serve that

                            interest under the required test via Press-Enterprise Co. v. Superior Court of

                            Cal., Riverside Cty., 464 U.S. 501, 510 (1984). Id., ¶64.

                                  In April 2017, Plaintiffs PATRICK GREENHOE and CLAUDETTE

                            GREENHOE demanded but were denied access to the ACRs of the trial

                            court proceedings in regards to a case held in the Bay County Probate Court

                            captioned as In re Estate of John Kuflewski, Bay County Probate Court Case
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                            No. 14-49781-DE (hereinafter “Kuflewski Case”). ECF No. 2, ¶22-25.
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                            Plaintiffs PATRICK GREENHOE and CLAUDETTE GREENHOE are not and

                            never have asked this federal court to adjust, change, alter, or amend any

                            state court judgment related to the Kuflewski Case. See id., ¶69. After

                            making the request, Defendant KIM B. MEAD, in his official capacity Bay

                            County    Probate    Court   Administrator,   denied    Plaintiffs   PATRICK

                            GREENHOE and CLAUDETTE GREENHOE’s request on the basis of Bay

                            County Probate Court Administrative Order 2014-01J. Id., ¶¶24-25; see also

                            ECF No. 2-2.

                                  The same thing essentially happened to Plaintiffs KOLU STEVENS

                            related to seeking access to ACRs in the Antrim County Circuit Court –

                            Family Division for the Stevens Case, though Defendant Mead is not

                            involved with that part for the instant federal action. ECF No. 2, ¶¶40-42.


                                                                 16
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.343 Page 17 of 19




                                  Plaintiffs further allege that local administrative orders for “access,

                            inspection, reproduction, and creation of records” are controlled by the

                            standards set forth by the Michigan State Court Administrative Office

                            (“SCAO”). ECF No. 2, ¶52. SCAO is essentially sued here vis-à-vis

                            Defendant Mack in his official capacity.

                                  The sole challenge made in this case is Plaintiffs’ respective total

                            denials of access to the ACRs as court records for inspection or copying.
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                            None of the relevant proceedings of the Kuflewski Case or Stevens Case
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                            were closed to the public, held in chambers, or placed under seal or under a

                            case-specific protective order. ECF No. 2, ¶¶17-19, 36-38. Both the Bay

                            County Probate Court and the Antrim County Circuit Court – Family Division

                            have the ACRs in their possession due to the requirements of the General

                            Retention Schedules. Id., ¶¶20, 39.

                                                       RELIEF REQUESTED

                                  WHEREFORE, the Court is requested to exclude any use of the

                            offending affidavit attached as ECF Nos. 14-1 – 14-6 and all references to

                            the same; deny the motion for the same reasons provided in ECF No. 23;

                            and order Defendant KIM B. MEAD to answer the amended complaint in

                            accordance with Fed.R.Civ.P. 12(a)(4)(A).




                                                                  17
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.344 Page 18 of 19




                             Date: September 28, 2018             RESPECTFULLY SUBMITTED:

                                                                  /s/ Philip L. Ellison
                                                                  OUTSIDE LEGAL COUNSEL PLC
                                                                  PHILIP L. ELLISON (P74117)
                                                                  Counsel for Plaintiffs
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                                                                 18
                            Case 1:18-cv-00757-PLM-RSK ECF No. 24 filed 09/28/18 PageID.345 Page 19 of 19




                                                    CERTIFICATE OF SERVICE

                                  I, the undersigned attorney of record, hereby certify that on the date

                            stated below, I electronically filed the foregoing with the Clerk of the Court

                            using the ECF system which will send notification of such filing to all counsel

                            or parties of record.

                             Date: September 28, 2018              RESPECTFULLY SUBMITTED:

                                                                   /s/ Philip L. Ellison
                                                                   OUTSIDE LEGAL COUNSEL PLC
OUTSIDE LEGAL COUNSEL PLC




                                                                   PHILIP L. ELLISON (P74117)
                                                                   Counsel for Plaintiffs
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                                                                  19
